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The

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of Appeals

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Sixth
Appellate District of Texas at Texarkana

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06-10-00021-CR

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RE:&nbsp; GREGORY DEMOND PLATER

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Mandamus Proceeding

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Morriss, C.J., Carter and Moseley, JJ.

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Opinion by Justice Moseley

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OPINION

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Gregory Demond Plater has filed a
document which we deem to be a petition for writ of mandamus.&nbsp; Plater was convicted of aggravated robbery,
and his conviction was affirmed by an opinion from this Court.&nbsp; Our mandate issued August 18, 2008.&nbsp; His filing is entitled as a “Motion To Have
Appellate Record Made Available to Appellant.”&nbsp;
However, in the motion, he states that he has not been able to contact
his court-appointed appellate attorney, and had written to the clerk of the
241st Judicial District Court attempting to obtain a copy of his record, and
only then was notified that his appeal had been decided.&nbsp; It appears from the context of his filing
that he is asking this Court to order the clerk of the 241st Judicial District
Court to make a copy of his record available for his review.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Plater has attached no documentation
to show the nature of any requests made, or any rulings based on those
requests.&nbsp; See Tex. R. App. P.
52.3(k).&nbsp; We also note that although his
appeal had been transferred to this Court for docket equalization from the Twelfth
Court of Appeals, this request is unrelated to our determination of the appeal.[1]&nbsp; Our authority does not extend to issuance of
mandamus against a clerk of a court, except insofar as it would be necessary to
enforce our own jurisdiction.&nbsp; Tex. Gov’t Code Ann. § 22.221(a). &nbsp;Further, the court is identified as one in
Smith County, a county not in our appellate district. &nbsp;See Tex. Gov’t Code Ann. §&nbsp;22.201(g)
(Vernon Supp. 2009).&nbsp; We have limited
mandamus jurisdiction, and may issue a writ of mandamus only against a judge of
a district or county court in our district.&nbsp;
Tex. Gov’t Code Ann. §
22.221(b) (Vernon 2004).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; For all of these reasons, we cannot
grant the relief requested.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We deny the petition for writ of
mandamus.

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C. Moseley

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Date
Submitted:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; February 17, 2010

Date
Decided:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; February 18, 2010

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Do
Not Publish

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[1]We have the authority to enforce
further proceedings in connection with our determination of the appeal as a
writ necessary to enforce the jurisdiction of this Court.&nbsp; Tex.
Gov’t Code Ann. § 22.221(a) (Vernon 2004).







